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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 0:24-cv-60382-LEIBOWITZ/AUGUSTIN-BIRCH


  JESSICA PIAFSKY,

         Plaintiff,
  v.

  MB HOME IMPROVEMENTS,
  INC., et al. ,

        Defendant.
  _____________________________/

                                             ORDER

         THIS CAUSE is before the Court on Plaintiff’s Unopposed Motion to Extend the Deadline

  to File Motions to Amend Pleadings (the “Motion”) [ECF No. 46], filed on November 12, 2024.

  Upon due consideration, it is hereby ORDERED AND ADJUDGED that the Motion [ECF No.

  46] is GRANTED. The parties shall file any motions to amend the pleadings or to join parties no

  later than December 12, 2024.

         DONE AND ORDERED in the Southern District of Florida on November 13, 2024.




  cc:    counsel of record
